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                                                      CONFIDENTIAL

                                        ONEMATA CORPORTION
                          NOTICE OF A SPECIAL MEETING OF THE SHAREHOLDERS

                                                                                      March 19, 2021

            Via Federal Express and E-mail

            TO THE SHAREHOLDERS OF ONEMATA CORPORATION LISTED ON THE ATTACHED
            EXHIBIT A (LIST OF SHAREHOLDERS):

                    Pursuant to the provisions of the Bylaws of Onemata Corporation, a Colorado corporation
            (the “Corporation”), the Board of Directors of the Corporation has called a Special Meeting of
            the shareholders of the Corporation, to be held at Robinson Waters & O’Dorisio, P.C., 1099 18th
            Street, Suite 2600, Denver, Colorado 80202, on April 19, 2021 at 10:00 a.m. Mountain Daylight
            Time, for the following purposes:

                   1.     To consider and vote on an increase in the number of authorized shares of Class B
            common stock of the Corporation in an amount sufficient to be sold and issued in connection
            with the Corporation’s planned private offering of up to $2,000,000 of Class B common stock.

                    2.    To transact such other business, if any, that may properly come before the meeting
            or any adjournment of the meeting.

                    The Board of Directors of the Corporation unanimously recommends that the
            shareholders approve such increase in the number of authorized shares of Class B common stock
            of the Corporation.

                   Only the shareholders of the Corporation’s common stock at 5:00 p.m. Mountain
            Daylight Time on March 19, 2021 are entitled to notice of, and to vote at, the meeting or any
            adjournment of the meeting.

                    You are cordially invited to attend the meeting in person and to take part in the meeting
            or participate by telephone by dialing 303-824-3239, entering bridge number “2” and entering
            “5550#” as the PIN; or you may provide a proxy to either of the undersigned, or another person
            of your choosing, to vote your shares on your behalf.


                                                             _________________________________________
                                                                   William W. Smith, III, Director


                                                             _________________________________________
                                                                   Brad Brown, Director

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                                                             EXHIBIT A

                                                 LIST OF SHAREHOLDERS

            Shareholders of Class A Common Stock                         Number of Shares

            Clay Anselmo
            E-mail: clay.anselmo@yahoo.com                                     586,425

            William W. Smith, III
            E-mail: smithw@onemata.com                                         3,875,678

                    Subtotal                                                   4,462,103


            Shareholders of Class B Common Stock                         Number of Shares

            Clay Anselmo
            E-mail: clay.anselmo@yahoo.com                                     54,977

            Crystal Anzulewicz
            E-mail: anzulewicz@onemata.com                                     68,765

            Sabira Arefin
            E-mail: sabira1231@yahoo.com

                    and

            Sabira Arefin
              c/o Harry Winderman, Esq.
            E-mail: harry4334@hotmail.com
                    Lynora.mae@gmail.com                                       2,575,758

            Colby Atwood
            E-mail: colbyatwood@comcast.net                                    52,413

            Brad Brown
            brownb@onemata.com                                                 1,937,500

            Merrill Brown
            Email: merrillbrown02@hotmail.com                                  52,413



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            Steve Chudleigh
            E-mail: steve.chudleigh@gmail.com                       26,206

            George Fink
            E-mail: gwfink@icloud.com                               80,616

            Mike Higgins
            E-mail: higginsb@onemata.com                            875,000

            Dane Madsen
            E-mail: dane@danemadsen.com                             52,413

            Ryan McCabe
            E-mail: mccaber@enscicon.com                            206,556

            Rick Owens
            E-mail: lexiandnick@gmail.com                           346,829

            Jerry Pokorny
            E-mail: jerry_pokorny@msn.com                           154,146

            Ashfaq Rahman
            E-mail: ashfaq_rahman@yahoo.com

                    and

            Ashfaq Rahman
             c/o Mavrick Law Firm
            E-mail: peter@mavricklaw.com
                    jacob@mavricklaw.com
                    legal assistant@mavricklaw.com                  2,575,758

            William W. Smith, III
            E-mail: smithw@onemata.com                              1,828,441

            Sara White
            E-mail: whites@enscicon.com                             65,682

                    Subtotal                                        10,953,473


                    TOTAL CLASS A AND CLASS B                       15,415,576




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